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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

KELLEN POWELL, et al..,                         )
                                                )
                 Plaintiffs,                    )
                                                )
           vs.                                  )       Case No. 4:15CV840 RWS
                                                )
THE CITY OF ST. ANN,                            )
                                                )
                 Defendant.                     )

                                               ORDER

         Having reviewed the parties’ response to the Show Cause Order issued June 5, 2017,

         IT IS HEREBY ORDERED that the Show Cause Order dated June 5, 2017, is deemed

satisfied and the parties shall either file their settlement papers or a joint request for status

conference by July 7, 2017, and this case remains stayed pending further Order of this

Court.




                                                    RODNEY W. SIPPEL
                                                    UNITED STATES DISTRICT JUDGE
Dated this 14th day of June, 2017.
